                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                               January 29, 2015
                              No. 10-13-00373-CR
                              ANTHONY MARK GARCIA
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 220[th] District Court
                             Bosque County, Texas
                           Trial Court No. CR 14712
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issues raised and finds no reversible error is presented.  Accordingly the trial court's judgment signed on October 3, 2013 is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM

							SHARRI ROESSLER, CLERK

						By:    Nita Whitener			
							Deputy Clerk

